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                           PATTISON, SAMPSON, GINSBERG & GRIFFIN, PLLC


            22 First Street
             P.O. Box 208
     Troy, NY 12181-0208            December 6, 2021
           P 518 266 1000
           F 518 274 6034
        www.psgglaw.com             Magistrate Daniel J. Stewart (via ECF)
   Service by Fax Not Accepted      US District Court
            _________               Northern District of New York
       F. Redmond Griffin           445 Broadway
      Mickki L. Harrington          Albany, New York 12207
      Michael E. Ginsberg*
        Thomas E. Lavery
            _________               Re: Doe v. Rensselaer Polytechnic Institute
                                        Case No. 1:20-cv-01185
       Rhiannon I. Spencer
            _________
                                    Dear Judge Stewart:
Edward H. (Ebbie) Pattison
                  (1896-1986)
                                    Our firm represents the Defendant, Rensselaer Polytechnic Institute (“RPI”), in
       Stephen H. Sampson           the above-referenced matter and I submit this letter in response to Attorney
               (1911-1982)
                                    Nociolo’s December 2, 2021 correspondence. RPI would like to schedule a
    Edward (Ned) Pattison           conference on this matter to discuss the issues raised by Attorney Nociolo as it
             (1932-1990)
                                    remains RPI’s position that it produced a corporate representative who could
       William M. Connors           reasonably testify to the relevant inquiries made during the deposition.
               (1912-1998)
       Lambert L. Ginsberg          On November 19, 2021, RPI produced Title IX Coordinator, Jacquelyn Turner
               (1928-2017)          in response to the Plaintiff’s Rule 30(b)(6) notice to depose. Attorney Nociolo
*Admitted in New York and Vermont   takes issue with such designation in connection with two areas of knowledge
                                    that her demand requested a corporate representative with knowledge of: (1)
                                    “investigations and cases by the U.S. Department of Education’s Office of Civil
                                    Rights against RPI for Title IX violations;” and (2) “student, parent, and faculty
                                    response to the Institute’s investigation into allegations of sexual misconduct.”
                                    (Exhibit 1 to Nociolo Letter).

                                    First, with regard to the Department of Education (“DOE”) investigations, both
                                    of the relevant matters are still pending with the DOE. (See, Office of Civil
                                    Rights Website Printout of Pending Matters as of October 29, 2021 attached as
                                    Exhibit “A”). In discovery, RPI provided the type of allegation lodged with the
                                    DOE and the notices received. Once the complaints were received, in 2017 and
                                    2018, the matters were sent to outside counsel who prepared and submitted
                                    responses. The DOE still has not rendered a determination in either of the two
                                    matters. While Ms. Turner did testify that she was not personally involved in the
                                    investigations and did not recall the specifics of the complaints, the matters are
                                    nonetheless pending and as such, Ms. Turner cannot testify to any specific facts
                                    in the student’s file, due to FERPA, or any such outcome as it does not exist.
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      There is no other relevant information Ms. Turner, or any individual, could testify
      to with regard to the two pending investigations and as such, the request to depose
      ought to be denied.

      Next, it still remains unclear what Attorney Nociolo is requesting a corporate
      representative testify to with regard to “student, parent, and faculty response to the
      Institute’s investigation into allegations of sexual misconduct.” Furthermore, when
      Attorney Nociolo asked Ms. Turner if RPI had received complaints from students
      regarding alleged failure to respond to a complaint of sexual harassment, Ms.
      Turner responded: “not that I’m aware of.” Similarly, when asked if RPI received
      complaints from parents regarding a failure to respond appropriately to a complaint
      of sexual harassment or assault, Ms. Turner responded: “not that I’m aware of.” (p.
      56-57 of Exhibit 2 to Nociolo Letter).

      Attorney Nociolo never specified what she meant by the type of notice, the type of
      complaints, or any other information. As explained to Attorney Nociolo, RPI does
      not keep a log or specifically track whether a student, parent or faculty member has
      ever expressed dissatisfaction regarding the Title IX process. Even if Attorney
      Nociolo were to recall a corporate representative, there is no person at RPI who
      would be able to answer questions regarding whether or not at some time
      throughout investigating over 500 complaints, some person expressed displeasure
      with the Title IX process. Ms. Turner was prepared to the extent the matters were
      reasonably available.” See, Rahman v. Smith & Wollensky Restaurant Group, Inc.,
      2009 WL 773344, at *1 (SDNY 2009).

      Attorney Nociolo then asked about an article published in RPI’s 2018 Student
      Newspapers criticizing the Title IX process which Ms. Turner stated that she did
      not remember seeing the article. Specifically, she said: “I don’t remember seeing
      that. I could have. I just don’t remember it.” (p. 57 of Transcript). Importantly,
      Attorney Nociolo never identified such 2018 newspaper editorial in the notice to
      depose. Ms. Turner testified to her general knowledge as the notice requested.

      Based upon the foregoing, RPI submits that the deposition notice was complied
      with as reasonably as possible based upon the nature of the request and the
      availability of information.

      Respectfully submitted,


      Rhiannon I. Spencer, Esq.
      Direct Dial: (518) 266-1001
      spencer@psgglaw.com

      cc: Julia A. Nociolo, Esq. (via ECF)
